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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v.

PAUL J. MANAFORT, Jr., and Crim. No. 17-201 (ABJ)
RICHARD W. GATES III,

Defendants

 

 

UNOPPOSED MOTION FOR
PROTECTIVE ORDER GOVERNING DISCOVERY

Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure, the United
States of America, by and through Special Counsel Robert S. l\/Iueller, lll, hereby
moves for entry by this Court of a protective order that Will ensure the confidentiality
of personal identification information and discovery that are included Within the
materials to be produced by the government pursuant to its discovery obligations

Entry of a protective order restricting the use, dissemination, and disposition
of such documents is essential to permit the United States to provide discovery to the
defendant While protecting, among other things, personal information and other
confidential materials The United States has conferred With counsel for the
defendants Paul J. Manafort, Jr., and Richard W. Gates III, and the defendants

consent to the proposed Protective Order, a copy of which is submitted With this

application

 

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WHEREFORE, the government respectfully moves the Court to enter the proposed

Protective Order Governing Discovery.

Dated: November|é¢ 2017

Respectfully submitted,

ROBERT S. MUELLER lII
Special Counsel

/s/
AndreW Weissmann
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